Case 3:18-cv-00092 Document 14 Filed on 08/06/18 in TXSD
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF TEXAS

 

 

 

 

 

NO

Saint Paul Stamps, Inc
- 500 W. Main, Ste. 203A
Branson, MO US 65616

 

 

 

 

 

 

 

 

 

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Date: Friday, July 13, 2018
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